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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION


 UNITED STATES OF AMERICA,

     Plaintiff,                            CIVIL ACTION FILE NO.
                  v.                       1:21-CR-409-2-TWT
 ANTONIO PENALOZA TORRES,
     Defendant.


                                     ORDER


      This is a criminal action.      It is before the Court on the Report and

Recommendation [Doc. 79] of the Magistrate Judge recommending granting in part

and denying in part the Defendant’s Motion to Suppress [Doc. 66]. No objections to

the Report and Recommendation have been filed. The Court approves and adopts

the Report and Recommendation as the judgment of the Court. The Defendant’s

Motion to Suppress [Doc. 66] is GRANTED to the extent that he seeks to suppress

evidence of the two K-9 deployments that occurred during the unlawful

investigatory detention at the park, and that the motion is DENIED to the extent that

he seek any other relief.
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                  27th day of November, 2023.
SO ORDERED, this _____


                                    ___________________________
                                    THOMAS W. THRASH, JR.
                                    United States District Judge




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